Case 1:17-cv-08223-PKC Document 56-1 Filed 10/15/18 Page 1 of 4




    EXHIBIT 1
    SEC 10/15/2018 letter to Judge Castel
                        Case 1:17-cv-08223-PKC Document 56-1 Filed 10/15/18 Page 2 of 4

A(7 S8A (Rev. 02/l~)Suhpoen~ to l~~stify at a Deposition in a Civil Actin


                                        UNITED STATES DISTRICT COURT
                                                    ter- tn~
                                                          Southern District of New York

          Securities and Exchange Commission
                               Plcrirztif
                                   v.                                         )        Ci~ril tictionNo.           ~7-CV-8223-PKC


                     Mohammed Ali Rashid                                      )
                       __
                              Defendant


                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTTON

To:                                         Gien G. McGorty c/o Daniel Zelenko, Crowell & Moring, LLP
                                            590 Madison Avenue, 20th Floor, New York, NY 10022-2544
                                                       (Vcrn7e pfperson !o t»honr Idris s~iibpoena is cf~recled)

                                                                                                                    testify at a
         T~ estin~aony: YOU ~.RE COMMANDED to appear at the time, date, and place set forth below to
                                                                                                         lr,ore officEz-s, dii~ecCors,
de~~osition to be taken in tl~iis civil action. If yvu are an organization, you n~~~ist designate one or
                                                                                                                    matters, or
or nlanagina agents, or designate other persons who consent to testify on your beh~~~if about the follo~ti~ina
those set fort}a in an aetachrnent:



 p~~Cz. u.5. 5ecunues t~ ~xcnange commission                                             Date aocl T~i»~~e:
        200 Vesey Street, Suite 400                                                                    October 30, 2018 9:30 a.m.
        New York, NY 10281
                                                                              Stenographer
           The deposition will be recorded by this method:
                                                                                                        follow~in~ documents,
       ~1 Procl~,sction: You, or your- representatives, m~~st also brinb with you to the deUosition the
                                                                            inspection; copying, testing, or saroplin~ of the
          electronically stored information, or objects, ar~d must pe,nnit
          material:




                                                                                                           of eonl~tiance;
        The followinb provisions of Fed. R. Civ. I'. 45 are attached —Rule ~~~(c), relating to the place
                                                                                             and (b), relatinb to ~~our duty tc~
Rule 4~(d), relating to your protectiol~7 as a person subject to a subpoena; antl Rule 4~(e)
respond to this subpoena and the potential consequences of 11c~t doi~ib s~.

Date:         09/17/2018
                                    CIERK OF'COURT                                                  ~~~'~`~~                    ~ ~`"`-
                                                                                             OR           /}

                                                                                                                                                ~~~~_ ~--

                                            Si~rzalure ofC/er/ or Depict} Clerl:                                       ~~ttorney's signait r~


                                                                                               ojparr~~j Securities and
The name, address, e-mail ~~ddress, and telephone number of the attonley representin; (nan~~~e
 Exchange Commission                                                     ,~vho issues or requests this subpoena, are:
Duane K. Thompson, 100 F. Street NE, ~,ti~ashington DC 20549, CarlsonJa@SEC.gov,(202) 551-3711

                                    Notice to the person wlio issues or requests tills subpoena
                                                                                                               thins before
If this subpoena con~~mands the produeti~n of documents, electronically stored infortl~lation, or tangible
                                                                                                            c~i~~ thr per-son to
trial, a notice and ~~ copy o~the subpoena i~ntrst be served on each party in this case before it is served
~v}~orn it is ciirecteci. Feel. R. Civ. f'. ~5(a)(4).
                          Case 1:17-cv-08223-PKC Document 56-1 Filed 10/15/18 Page 3 of 4

AO 8Sa (12~v. 02I14j Sub}~ocna t~~ "I~~stifi~ at a Dcpositi~n in a Civil Action (Page ?)


Czvil Action Nc~. ~~-CV-8223-PKC

                                                        PROOF OF SERVICE
                     (T/iis secfion shotrl~l ytot be.ftle~ with the cozu~t arnless rep/a~rte~l bt-' Ped. R. Civ. P. 45.)

            1 T'eC~iVrd f~11S SUhp0ella ~FO1" (naive ofii¢divtdt~al artd titlz, ifai~vj

017 (dnle


            ~ I served the subpoena by~ cleliveri~l~ a copy to the named individual as follows:


                                                                                           on (~i~r~j                             ; or'

            ~7 I returned the subpoena une~ecuted because:


                                                                                                                        also
            Unless the sl~lbpo~na vas issued on behalf of the United States, or one of its officers or agents, I have
                                                                               mileage  allowed   by lati~~_ in the amount of
            tendered to the witness the fees for one day's attendance_ and the



M~ fees are $                                          for tray el and S                        for services, for a total of ~            0.00



            I declare under penalty of ~~e7jur~~ that this inforl~~~tion is true.


llate
                                                                                                   ~E7"VC;Y ~S S(~Y71172U't




                                                                                                 Pr~i~ztect name ca~~ri/. title




                                                                                                    S'erver's adclr~ess


1~dditional in,formatio~l re~ardin~ atten~lpCecl service, etc.:
                          Case 1:17-cv-08223-PKC Document 56-1 Filed 10/15/18 Page 4 of 4

r\O t;SA {Rev. 02;14) Subpoena to 1 i.stif~ at a I~epusition in a Civil Action (Page 3)

                              Federal 'Rule of Civil Proccdu~-e 45 (c), (cl), {e), ai~~d (~)(l~ffective~ 12/11:13)

(c) Place of Compliance.                                                                    (i) disclosing ai trade secret or other eonfid~ntial rese<~rch, development,
                                                                                      or commu~cial inforn~ation_ or
(1) For a Trial, Hearin„ or Deposition. A subpoena may comivand a                          (ii) disclgsing an unrctained experCs opinion or ii~fonpation that does
person t~~ attend a tri~~l, hearing, or deposition only as C~ll~w5:                   n~~t d~~crib~ specific occim-ences in dispute and results fiom tl~c expert's
  (.1,) ~~~itl~in 100 miles gf~~~her~ the person ~~~idea, is employed, or             st~idy that was no[ r~questEd by a ~a~ty.
                                                                                                                                                                s
regularl} v-ansacts business in person; or                                             (C)S~~ecfi'irig Conditions as an ;llternatii=e. In the circim~istance
                                                                                                                                                               or
  (l3) within the state where the person residues, is cmplot ed, or re~>ularly        described in Rule 4~(d)(3)(F3), the covert may, iii;[~ad of q~r~shi~~g
transacts Uusiness in person. if the person                                           modifying a subpoena, order appearvlce or productian under specified
    (i) is a }arty or a ~~u~tv's officer; ~r                                          ao~~diligris if the s~rvine party:
    (ii) is commanded to attend a u~ial and ~~ould nit incur stiibstantial                 (i) shoes a stiib5ta~~tia1 need Por the t~stfmony ~r i~~ateriai that cannot be
expense.                                                                              otl~~en~vise met ~~~ithout i~~ndue har~shi}~; and
                                                                                                                                                                          .
                                                                                            (ii) ensures that the subpoenaed person ~a~ill be reasonat~ly compensated
 (2) F'a• Otloer Discoi~erP. ~ subpoena ma~~ cgmmand:
   (~)produciion oi'docun~~nts, i;le~u~unically stored iniormatiq~~, or               (e) Uutics in Respai~ding to a Subpoena.
 tancible things at a place within 100 miles of where tl~~~ person resides, is                                                                                    "I~hese
 ei~~ployed, or regularly transacts bu5ine~s in person; aid                            (]) Pro~luci~~g Dort+r:rerrts or Electroraicallp Stored Iriforrr~arriion.
   (B)inspection of pi~mises at the premises to be ii~spceted.                        procedures appl}' to prc~ducina documents or electronically stored
                                                                                      infonnafion:
(d)Protecting a Person Subject to a Subpoensi; Enforcement.                              (A)Docaunei~ts. A person responding to a subpoena to produce d~eument
                                                                                      m ust ~rotluce them as they are kept in the ordinary course of'busin~ss or
  (1)Avoirlirib U~idire F3urderz or F__rperrse; Sa~ictin~zs. A party or ~tt~rne<<     m ust organize and label them to con-es}~on~1 to the cite<~orie_ in the den~~and.
 a•~sponsible fir issuing and serving a subpoena must take reasonable ste~~              (13) Form,ftJr Pr~oduciiag Elecnonicalh~ Str~reC! Inf~rmertiora blot ,SpeciJ~ecL
 to a~Foid imposing wldue burden or expc:nSe on a person subject tC~ the              If a si~~bpuen.~t d~~s ~~ot specify a fom~ for proclu~ine electronically stored
 subpoena. The court for the dis~~ict ~~~her~ corttpliance is re~~uired must           i nfc~rntation, the ~~ci;rn~ responding must produce it in a tt7rm or form; in
 enforce this duty and impose an ~x}~En<~~~riatz; sanction--~~~hich may include       wl~~ich it is arlinarih~ maintai~~ed ~~>r in a lea onabl~~ usable form or forms.
                                                                                                                                                               Form. The
 lost earnings and reasonable attorney stew—nn a party <>r attorney ~vho                  (C)Elcctrof~~rcnl/)~ Stored Informnlio~v Arodirced in ~r~/v One
 fails to comply.                                                                      p~rst»~ respondine need not ~~roduce the sama electronically shred
                                                                                       i nfcu-mation in mare than orie fnrn~.
 (2) Cornnaanrt to Produce Ibl~ueriols or Perr~irt Irispecrio~r_                          (A) Inc~ceessrble Elech~a~~iccrllvStoreclli~for•mcuior~. Thy ~~~rsc~n
   (.~),4~~pecrr~rr~ce '~~ot Tiequirecl. r1 persgn commanded t~ produce                a~espondin~ need not provide disc~vei~ of electronically ;tared infoima['ion
 docw»cnt~. cicctr~o~~~icall}' stored information ter [an~iblc things. or t<)          from sixnces that the per>on id~i;tiiie~ a~ not rya i~r,abl~ acs siLl~ b~cmisc
permit the ins}~eCtion of}remises. ncetl not appear ire person al ~hc ~~)~~~ce of      qi' uncluc burCicn or cyst. On motion to con~p~l disc o~~ery ur for a protective
}~roducCi~n qr inspeetic~n unless also c~nvnancled to a2~pz:zr fc~r a depositio»,      or~~ler, [lie persc>n respC~udii~e must Show tl~iat die ie~tormation is nit
                                                                                                                                                                         is
 l~earin~r, or trial.                                                                   rea~o~~at~ly acce5Siblc bzc~3use of undue burden ~r cost. If thou s6o~~ ink
                                                                                                                                                                       tl~ie
   (B) Objectio~~~s. f1 person cunul~anded to ~~roduee clocumcnts or tancible           made_ the court ma~~ nonetl~el~ss ozder di>cover~ ti-om such soure~s if
                                                                                                                                                                  Rule
 t}~in~s car to pc~Tnit inspection ii~av erve ~n the party ~~r a~Corne~- d~"i~nated     requ~stin~ p~u1y Shows good cause, consi<lerin<~ the limitatiUn, ~t
 in the sub~benta a tivr'itten objactign w inspectii~c7. ~c>~~~~in~. testing, or        26(b)(2)(C'). "l~lte couri may sC>ecily con~itio~u for Use di;co~~ei~ .
 sampling a~n}~ or all of the i7laterials or tq insp~ctin~, tPie premi x, -or to
 pi~o~9uci~ic electronically stored infarmatioi~ in the fom~ or forms requested.      (2) Claiminn Priwi[eae or Prvteaion.
 The objeeti~n must be scrvEd bcfpre the earlier of the time specified f~7r            (A)lnformution i3~i[hheld A pe~:son ~vitl~~holding suhpoen~aed information
 compliance car 14 Clays after the subpoena is szr~~i;tl. If air objection is made,    under a claim that it is privitc~eci or subject t~ protection as trial-preparation
 t.h~ folla~~~i~1g rules apply:                                                        materiel must_
      (i} ,1t any time, c>n notice CU [he c~~n~n~an<l~cl person, il~e >er~ing part}         (i) ~x1>>c»I~ mai.a the claim: and
 may mop c the eow-t for t1~i. district where compliance is required for an                 (ii) describe the nature ol'tl~e ~vithhelcl ~locumei~ts, communications, or
 order cornp~llin~ production or inspection.                                           tangible thins in a manner that, without revealir~~ information itself
       (ii)'lhese acts may be required only as directed in d~E order, and the          ~~i rvileQed or protected, will enable the parties to asses the claim.
 order must }protect 1 peis~n wl~o iz neither a party nor a part~~'s ofticer from      (I3) Ir~forrrratiori Pr~c>dz~cecl. lti inforn~atign pr~du~ed in respbnse tt~ a
 si<~nificant expense resulting fi-oni compliance.                                     subpoena is sul~iect to a elairll cif privilege or o{'protection as
                                                                                       trial-preparation material, the person making the clain2 may notii~~ any }arty
  (3)Oa{ashi~zg or lYforlifyiran t~ SuG~oerra.                                         drat recei~•ed the information ofthe cl;~im and the Lasis for it. AYter being
                                                                                        notified, a party must Prorn}>tly rttum-sequester, ~r destroy the specified
  (:~) bf%hen Rega~ar•ed. On tunely motion, tl~~e court for the; district where        information and Amy copies it has; must not use car ciiselose the intgrrnation
 compliance is required mtast yuasl~ ar mpdi#v a subpoena that:                        until the daian is resc~hred; ixnist Make reasonable steps to iutri~ve the
                                                                                        information if tll~: parry disclosed it before being notified; and may promptly
     (i) t~rils to allow a reasonable time to comply;                                   present tl~~e rr~forn~ation undei~~ seal [v ~-ie court f'or the district ~vl~~ere
     (ii) requires d p~rsc~n Co comply be}and the geogi~aphic~l limits                 compliance is required for a determination of the claim. '7~h~ prison ~vho
                                                                                                                                                                          is
 specified in Role 4~(c);                                                               produced the information must }reserve the iriforniation until the clairt~
     (iii) requires disclosure of privileged or tither protected matter. iPno           resolved.
 exception or ~a~aiver applies; or
     (iv)subjects a person to undue burden.                                            (g) Contempt.
  (H) 6T'herz Per~»~zdtzed. To protect a person subject to ~~r affected ley a           Tlie court. fir tl~e district where co~~~pliance is required—and also. after a
                                                                                                                                                                  person
 subpoena, the court for the district ~vl~ere com~~liance is required may,on            motiUn is tra~~sferred, the issuing court—may hold in contempt a
                                                                                        why, f~~avi»s  bean   served,  fails without adequate  excuse to ob~~":y the
 motion, quash or modify the subpoena if it requires:
                                                                                        subpoena or an order relaCed to it.


                                            l or accts; to subpoena materials, see Fed. R. Civ. Y. 4~iaj Comrniu~e Note (2013j.
